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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 UNITED STATES OF AMERICA,                             CR 16–01–M–DLC–2

                      Plaintiff,
                                                              ORDER
        vs.

 KELLY LOUISE NICHOLLS,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on April 6, 2016. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Kelly Louise Nicholls’ guilty

plea after Nicholls appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to one count of passing counterfeit

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obligations of the United States in violation of 18 U.S.C. § 472, as set forth in

Count II of the Indictment. Defendant further admitted to the allegation of

forfeiture. In exchange for Defendant’s plea, the United States has agreed to

dismiss Counts I and III of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

43), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Kelly Louise Nicholls’ motion to

change plea (Doc. 31) is GRANTED and Kelly Louise Nicholls is adjudged guilty

as charged in Count II of the Indictment.

      DATED this 22nd day of April, 2016.




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